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                                       UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF
                                                 FLORIDA


 LESLIE GOUTIER,

            Plaintiff,
                                                                  CASE NO.: 0:18cv60307
      v.


 FINANCIAL BUSINESS AND
 CONSUMER SOLUTIONS, INC.,

            Defendant.
                                                   /

                                                       COMPLAINT

           1.        “Robocalls” are the #1 consumer complaint in America today.

           2.        In 2016, there were almost 4,000,000 complaints reported to the Federal

  Communications Commission (FCC) and the Federal Trade Commission (FTC) concerning

  robocalls—3,857,627 to be exact.1 In 2015 and 2014, the robocall complaints reached 2,636,477

  and 1,949,603, respectively.2              It is important to recognize these merely reflect the number of




  1
    National Do Not Call Registry Data Book FY 2016, October 1, 2015 – September 30, 2016, FEDERAL TRADE
  COMMISSION (Dec. 2016), https://www.ftc.gov/system/files/documents/reports/national-do-not-call-registry-data- book-
  fiscal-year-2016/dnc_data_book_fy_2016_post.pdf; Consumer Complaints Data – Unwanted Calls, FCC – Open Data,
  FEDERAL            COMMUNICATIONS               COMMISSION,              https://opendata.fcc.gov/Consumer-and-Government-
  Affairs/Consumer-Complaints-Data-Unwanted-Calls/vakf-fz8e.
  2
    National Do Not Call Registry Data Book FY 2015, FEDERAL TRADE COMMISSION (Nov. 2015),
  https://www.ftc.gov/system/files/documents/reports/national-do-not-call-registry-data-book- fiscal-year-
  2015/dncdatabookfy2015.pdf; Consumer Complaints Data – Unwanted Calls, FCC – Open Data, FEDERAL
  COMMUNICATIONS COMMISSION, https://opendata.fcc.gov/Consumer-and- Government-Affairs/Consumer-Complaints-
  Data-Unwanted-Calls/vakf-fz8e;         Fact    Sheet: Wheeler Proposal to Protect and Empower Consumers Against Unwanted
  Robocalls, Texts to WirelessPhones, FEDERAL              COMMUNICATIONS                           COMMISSION,
  https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf;          National      Do Not                  Call Registry
                  Data      Book        FY     2014,      FEDERAL          TRADE         COMMISSION        (Nov. 2014),
  https://www.ftc.gov/system/files/documents/reports/national-do-not-call-registry-data-book- fiscal-year-
  2014/dncdatabookfy2014.pdf.
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  individuals that complained to these agencies; the number of people that have been victimized by

  robocalling abuse could be close to 100,000,000 in the last 3 years.

         3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

  modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

  the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

  137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

  years ago, robocall abuse continues to skyrocket.

         4.      Plaintiff,   LESLIE     GOUTIER,       alleges   FINANCIAL        BUSINESS        AND

  CONSUMER SOLUTIONS, INC. “robo-called” his cellular phone more than one hundred (100)

  times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq.

  (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq. (“FCCPA”)

  and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”).

         5.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

  subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

  millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

  Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

  Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

  (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

  Consumer Protection, Federal Trade Commission).

         6.      The TCPA was enacted to prevent companies like Defendant from invading

  American citizens’ privacy and prevent illegal robocalls.


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         7.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

  or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

  decided that "banning" such calls made without consent was "the only effective means of

  protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

  §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

  132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

         8.      According to findings by the FCC—the agency Congress vested with authority to

  issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

  automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

  solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

  wireless customers are charged for incoming calls whether they pay in advance or after the minutes

  are used.

                                  JURISDICTION AND VENUE

         9.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. §1331.

         10.     The alleged violations described in the Complaint occurred in Broward County, FL.

                                    FACTUAL ALLEGATIONS

        11.      Plaintiff is a natural person, and citizen of the State of Florida, residing in Dade

 County, FL.


         12.     Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15 U.S.C. §

  1692(a)(3).

         13.     Plaintiff is an “alleged debtor.”



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         14.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

  1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

         15.     According to Florida corporate filings, Defendant, is a corporation which was

  formed in Pennsylvania with its principal place of business at Hatboro, PA.

         16.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

  U.S.C. § 1692(a)(6).

         17.     The debt that is the subject matter of this complaint is a “consumer debt” as defined

  by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

         18.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

  calling several times during one day, and on back to back days, with such a frequency as can be

  reasonably expected to harass.

         19.     Defendant attempted to collect a debt owed by a person other than Plaintiff.

         20.     Each call the Defendant made to the Plaintiff was made using an ATDS which has

  the capacity to store or produce telephone numbers to be called, without human intervention, using

  a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C

  §227(a)(1).

         21.     Furthermore, upon information and belief, each of the calls at issue were placed by

  the Defendant using a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227 (b)(1)(A).

         22.     Defendant has stipulated in another lawsuit that the telephone system used to call

  the Plaintiff was in fact an ATDS.




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         23.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

  purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         24.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

  XXX-XXX-2831.

         25.     Plaintiff never provided his aforementioned cellular telephone number to the

  Defendant.

         26.     In or about October 2017, Plaintiff started receiving telephone calls to his

  aforementioned cellular telephone number from Defendant seeking to recover a debt not owed by

  Plaintiff. Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls were

  being initiated from, but not limited to, the following phone number: (904) 647-2004.

         27.     Upon receipt of the calls, due to a ceaseless barrage of daily calls and voicemails

  with prerecorded messages, Plaintiff answered a call from Defendant. After a short pause, an

  agent/representative of the Defendant came on to the line and Plaintiff explained to this agent that

  he was not the individual that they were looking for, that their incessant calls were harassing him

  and demanded that Defendant cease placing calls to his aforementioned cellular telephone number.

         28.     During     the   aforementioned       phone    conversation     with    Defendant’s

  agent/representative, Plaintiff expressly revoked any express consent Defendant may have

  mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular

  telephone numbers by the use of an ATDS or a pre-recorded or artificial voice.

         29.     Each subsequent call Defendant made to the Plaintiff’s aforementioned cellular

  telephone numbers was done so without the “express permission” of the Plaintiff.




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         30.     Each of Plaintiff’s conversations with the Defendant demanding an end to the

  harassment were ignored.

         31.     Defendant has recorded at least one conversation with the Plaintiff

         32.     Defendant has recorded numerous conversations with the Plaintiff.

         33.     Despite actual knowledge of their wrongdoing, and that they did not have Plaintiff’s

  consent, the Defendant continued its barrage of phone calls to Plaintiff’s aforementioned cellular

  telephone numbers in an attempt to collect a debt.

         34.     Defendant made at least one call to XXX-XXX-2831 using an “automatic telephone

  dialing system” (ATDS).

         35.     Defendant made at least one hundred (50) calls to XXX-XXX-2831.

         36.     Defendant made at least one hundred (50) calls to XXX-XXX-2831 using an ATDS.

         37.     Defendant made at least one thousand five-hundred (100) calls to XXX-XXX-2831.

         38.     Defendant made at least one thousand five-hundred (100) calls to XXX-XXX-2831

  using an ATDS.

         39.     Each call the Defendant made to the Plaintiff’s cell phone was done so without the

  “express permission” of the Plaintiff.

         40.     Each call the Defendant made to the Plaintiff in the last year was made using an

  ATDS, which has the capacity to store or produce telephone numbers to be called, without human

  intervention, using a random or sequential number generator; and to dial such numbers as specified

  by 47 U.S.C § 227(a)(1).




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         41.     Furthermore, many of the calls at issue were placed by the Defendant using a

  “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

         42.     Defendant has stipulated in another lawsuit that the telephone system used to call

  the Plaintiff was in fact an ATDS.

         43.     To this date, Defendant placed approximately one hundred (100) automated calls to

  Plaintiff’s aforementioned cellular telephone (or as will be established after a thorough review of

  Defendant’s records), despite the Plaintiff revoking any consent Defendant may have mistakenly

  believed it had to place calls to his aforementioned cellular telephone number.

         44.     By effectuating these unlawful phone calls, Defendant has caused the Plaintiff the

  very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

         45.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

  with Plaintiff’s rights and interests in his cellular telephone and cellular telephone line, by

  intruding upon Plaintiff’s seclusion.

         46.     Defendant’s phone calls harmed Plaintiff by wasting his time.

         47.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

  whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

  of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

  battery life on his cellular telephone, and by using minutes allocated to Plaintiff by his cellular

  telephone service provider.

         48.     Defendant’s corporate policy and procedures is structured as to continue to call

  individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

  have had.




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              49.   Defendant’s corporate policy and procedures provided no means for the Plaintiff to

     have his aforementioned cellular number removed from the call list.

              50.   Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

     voice message to collect debts from individuals such as Plaintiff for its financial benefit.

              51.   Defendant has numerous other federal lawsuits pending against them alleging

     similar violations as stated in this complaint. The Defendant has been sued civilly in Federal Court

     two-hundred thirty times since 2014.

              52.   In the last three (3) years, the Defendant has had 67 complaints reported to the

     Better Business Bureau (BBB)3, of which 61 of those complaints are classified as being related to

     “Billing/Collection Issues.”

              53.   Plaintiff expressly revoked any consent Defendants may have mistakenly believed

     they had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the

     use of an ATDS or a pre-recorded or artificial voice immediately upon Defendants’ placement of

     the calls.

              54.   Defendant never had the Plaintiff’s express consent for placement of telephone calls

     to his aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

     voice.

              55.   Defendant violated the TCPA with respect to the Plaintiff.

              56.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                 COUNT I
                                          (Violation of the TCPA)

              57.   Plaintiff incorporates Paragraphs one (1) through fifty-seven (56).


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     FBCS, Incorporated, Reviews & Complaints, BETTER BUSINESS BUREAU, https://www.bbb.org/washingtondc-
     eastern-pa/business-reviews/collections-agencies/fbcs-incorporated-in-hatboro-pa-80015310/reviews-and-
     complaints.
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         58.     Defendant caused placement of non-emergency telephone calls to Plaintiff’s

  cellular telephone using an ATDS or prerecorded or artificial voice without Plaintiff’s prior

  express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

         59.     Defendant willfully and knowingly caused placement of non-emergency telephone

  calls to Plaintiff’s cellular telephone using an ATDS or prerecorded or artificial voice without

  Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages and any

  other such relief the court may deem just and proper.

                                               COUNT II
                                       (Violation of the FCCPA)

         60.     Plaintiff incorporates Paragraphs one (1) through fifty-seven (56).

         61.     At all times relevant to this action Defendant is subject to and must abide by the

  law of Florida, including Florida Statute § 559.72.

         62.     Defendant has violated Florida Statute §559.72(7) by willfully communicating with

  the debtor or any member of his or his family with such frequency as can reasonably be expected

  to harass the debtor or his or his family.

         63.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in conduct

  which can reasonably be expected to abuse or harass the debtor or any member of his or his family.

         64.     Defendant has violated Florida Statute §559.72(9) by attempting to enforce a debt

  when Defendant knows that the debt is not legitimate or assert the existence of some legal right

  when Defendant knows that right does not exist.

         65.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

  continuous sustaining of damages as described by Florida Statute §559.77.

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         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

  interest, attorney fees and any other such relief the court may deem just and proper.

                                            COUNT III
                                     (Violation of the FDCPA)

         66.     Plaintiff incorporates Paragraphs one (1) through fifty-seven (56).

         67.     At all times relevant to this action, Defendant is subject to and must abide by 15

  U.S.C. § 1692 et seq.

         68.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

  willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any

  person in connection with the collection of a debt.

         69.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

  by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

  continuously with intent to annoy, abuse, or harass any person at the called number.

         70.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

  using unfair and unconscionable means to collect or attempt to collect any debt.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

  fees and any other such relief the court may deem just and proper.

         Dated: February 10, 2018




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         Respectfully Submitted,

                                        /s/ Jibrael S. Hindi                 .
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